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                                              UNITED STATES COURT OF APPEALS
                                                  FOR THE FOURTH CIRCUIT

                                                        TRANSCRIPT ORDER

                                  READ INSTRUCTIONS ON PAGE TWO BEFORE COMPLETING

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  Name of Court Reporter/Electronic Rec.___________________________________________________________________________
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  BEEN MADE WITH THE REPORTER. IF THIS COMPLETED FORM IS NOT MAILED TO THE COURT REPORTER AND A COPY FILED
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  TO DISMISSAL PURSUANT TO FOURTH CIRCUIT LOCAL RULE 45. ADDITIONAL COPIES OF THIS FORM MUST BE FILED WITH
  TWO COPIES OF APPELLANT'S DOCKETING STATEMENT WITH THE CLERK OF THE COURT OF APPEALS WITHIN FOURTEEN
  DAYS OF FILING THE NOTICE OF APPEAL. A SEPARATE TRANSCRIPT ORDER MUST BE COMPLETED FOR EACH REPORTER
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  A. This constitutes an order of the transcript of the following proceedings [check appropriate box(es) and indicate total number of
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                    PROCEEDING                                            HEARING DATE(S)

           ! Voir Dire                                  ______________________________________________________
           ! Opening Statement (Plaintiff)              ______________________________________________________
           ! Opening Statement (Defendant)              ______________________________________________________
           ! Closing Argument (Plaintiff)               ______________________________________________________
           ! Closing Argument (Defendant)               ______________________________________________________
           ! Opinion of Court                           ______________________________________________________
           ! Jury Instructions                          ______________________________________________________
           ! Sentencing                                 ______________________________________________________
           ! Bail Hearing                               ______________________________________________________
           ! Pre-Trial Proceedings (specify)            ______________________________________________________
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           TOTAL ESTIMATED PAGES _________________________

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        DISMISSAL OF AN APPEAL.
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        !
        ì Criminal Justice Act. A CJA Form 24 has been submitted to the district judge. (Attach a photocopy of the CJA 24 to the
            court of appeals' and reporter's copies. The CJA 24 does not have to be approved prior to submission of a copy.)
        ! Government expense (civil case). IFP has been granted and a motion for transcript at government expense has been
            submitted to the district judge.
        ! Advance payment waived by court reporter.
        ! Federal Public Defender - no CJA Form 24 necessary.
        ! United States appeal - copy of litigation expense form attached, if applicable.

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  Signature __________________________________________Typed name______________________________________________
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